     Case 2:13-cr-06070-SAB          ECF No. 56       filed 05/14/14   PageID.239   Page 1 of 3



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 5
                            IN THE UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,
 8
                        Plaintiff,                       NO: CR-13-6070-WFN
 9

10         vs.                                           GOVERNMENT’S RESPONSE TO
                                                         DEFENDANT’S SUPPLEMENTAL
11 KENNETH RICHARD ROWELL,                               SENTENCING MEMORANDUM

12                      Defendant.
13
           Plaintiff, United States of America, by and through Michael C. Ormsby, United
14
     States Attorney for the Eastern District of Washington, and Alexander C. Ekstrom,
15
     Assistant United States Attorney for the Eastern District of Washington, hereby
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     submits the following response to the Defendant’s supplemental sentencing
17 memorandum (ECF No. 55) as follows:

18         I.     DEFENDANT’S OBJECTION/SUGGESTION
19                1. Page 11, Paragraph 54-57, Conviction for First Degree Sodomy:
20         The Defendant does not seek to directly reply to the Government’s response on
21 this issue, in which the Government contended that, even if he supported his

22 allegations that his attorney failed to communicate with him regarding this

23
     prosecution, he could not meet his burden to overcome the “presumption of
     regularity” of a conviction. (ECF No. 51, pg. 2), citing United States v. Allen, 153
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     F.3d 1037, 1041 (9th Cir. 1998). Essentially, the Defendant now argues that this
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     Court should remove the information not because it is inaccurate, but rather because it
26
     is “prejudicial” to his placement at BOP. (ECF NO. 55, pg. 2). Neither of the cases
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   Government’s Response To Defendant’s
28 Supplemental Sentencing Memorandum
                                                  1
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 1 cited by the Defendant support his assertion that this Court should remove this

 2 accurate information from the PSIR. Id. at pg. 1-2, citing United States v. Brown, 715
     F.2d 387 (5th Cir. 1983) and citing United States v. Petti, 513 F.2d 572 (9th Cir. 1975).
 3
     The Defendant is required to register as a sex offender as a result of his conviction,
 4
     and has been registering as required. The simple fact that evidence of this conviction
 5
     also results in a less favorable classification is not a rationale for removing the same
 6
     from a PSIR.
 7
           Respectfully submitted this 14th day of May, 2014
 8
                                              MICHAEL C. ORMSBY
 9                                            United States Attorney
10                                            s/Alexander C. Ekstrom
                                              ALEXANDER C. EKSTROM
11                                            Assistant United States Attorney

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   Government’s Response To Defendant’s
28 Supplemental Sentencing Memorandum
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 1         I hereby certify that on May 14, 2014, I electronically filed the foregoing with
 2 the Clerk of the Court using the CM/ECF System which will send notification of such

 3 filing to the following: Rick Lee Hoffman.

 4

 5
                                           s/ Alexander C. Ekstrom
 6                                         Alexander C. Ekstrom
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28 Supplemental Sentencing Memorandum
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